
Island Life Chiropractic, P.C., as Assignee of Vernizier, Jean Willy, Appellant,
againstOmni Indemnity Company, Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Freiberg, Peck &amp; Kang, LLP (Yilo J. Kang, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Larry Love, J.), entered August 8, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that defendant had not issued an insurance policy covering the subject loss and, thus, that plaintiff had sued the wrong party.
For the reasons stated in TAM Med. Supply Corp. v Omni Indem. Co. (48 Misc 3d 142[A], 2015 NY Slip Op 51294[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2015]), the order is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: September 22, 2017










